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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      November 23, 2020

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter to provide an update regarding the
defendant’s conditions of confinement at the Metropolitan Detention Center (“MDC”) pursuant to
the Court’s Order dated August 25, 2020. (Dkt. No. 49). Over the past three months, the
Government has had multiple conversations with MDC legal counsel regarding the defendant’s
conditions of confinement. This update is based on information provided to the Government by
MDC legal during those conversations.

       Last week, a staff member who was assigned to work in the area of the MDC where the
defendant is housed tested positive for COVID-19. In response, the MDC implemented the same
quarantine protocols that apply whenever an inmate has potentially been exposed to the virus.
Specifically, on November 18, 2020, the defendant was tested for COVID-19 using a rapid test,
which was negative. That same day, the defendant was placed in quarantine. As with any other
quarantined inmate, the defendant will remain in quarantine for fourteen days, at which point she
will be tested again for COVID-19. If that test is negative, she will then be released from
quarantine. To date, the defendant has not exhibited any symptoms of COVID-19.

        During her time in quarantine, the defendant will be housed in the same cell where she was
already housed before she was placed in quarantine, and medical staff and psychology staff will
continue to check on the defendant every day. Like all other MDC inmates in quarantine, the
defendant will be permitted out of her cell three days per week for thirty minutes. During that
time, the defendant may shower, make personal phone calls, and use the CorrLinks email system.
In addition, the defendant will continue to be permitted to make legal calls every day for up to
three hours per day. These calls will take place in a room where the defendant is alone and where
no MDC staff can hear her communications with counsel.

        On November 18, 2020, the Government provided the MDC with a laptop for the defendant
to use to review discovery. During quarantine, the defendant has been and will continue to be
permitted to use that laptop in her isolation cell to review her discovery for thirteen hours per day,
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seven days per week. Accordingly, the defendant is receiving the same amount of time to review
her discovery and the same amount of time to speak with her lawyers as she received before
entering quarantine. The defendant will not, however, be permitted to meet in person with her
lawyers until she tests out of quarantine.

         After the defendant tests out of quarantine, she will resume the same schedule that the
MDC implemented approximately three months ago. Specifically, from 7am to 8pm every day,
the defendant will be permitted out of her isolation cell. During those thirteen hours, the defendant
will have access to a computer on which to review her discovery outside of her cell. Also during
the day, the defendant will be permitted to, among other things, make legal calls, make personal
calls, access CorrLinks, and shower. From 8pm to 7am, the defendant will remain in her isolation
cell. The defendant will also be permitted to have in-person visits with her attorneys up to three
days per week for multiple hours per visit. On days when the defendant does not have in-person
legal visits, she will have access to legal calls for up to three hours per day.

       As was the case three months ago, the defendant continues to have more time to review her
discovery than any other inmate at the MDC, even while in quarantine. The defendant also has as
much, if not more, time as any other MDC inmate to communicate with her attorneys, even while
in quarantine.

        As noted above, over the past three months, the Government has repeatedly communicated
both with MDC legal counsel and defense counsel regarding the defendant’s conditions of
confinement. Whenever the defense has raised a concern on this topic, the Government has
immediately contacted MDC legal counsel to inquire about and, where appropriate, to address the
concern. The Government will continue to keep those lines of communication open and will
remain responsive to any concerns raised by the defense regarding the defendant’s conditions of
confinement. Should the Court have any questions or require any additional details regarding this
topic, the Government will promptly provide additional information.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


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Cc: All Counsel of Record (By ECF)
